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     Public Service Company of Colorado, d/b/a Xcel Energy, Petitioner/Cross-Respondent  v.  Outdoor Design Landscaping, LLC, and Respondent/Cross-Petitioner  Francisco Cuevas. Respondent No. 23SC659Supreme Court of Colorado, En BancJuly 1, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case Nos. 22CA301 &amp; 22CA1108
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari GRANTED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the court of appeals erred in holding that a
      provision in a utility's tariff purporting to limit the
      utility's liability only applies to customers of the
      utility.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the court of appeals erred in holding that the
      General Assembly had not expressly delegated authority to the
      Public Utilities Commission to approve a tariff limiting tort
      liability in derogation of common law.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals erred in holding that Respondent was not
      a "person" subject to the notification requirements
      of the High Voltage Safety Act, § 9-2.5-102(1), C.R.S.
      (2023).
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals erred in interpreting section
      9-2.5-104(2), C.R.S. (2023) such that it renders the words
      "results in," "caused by the contact" and
      "due to the contact" superfluous.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    